                     Case 4:15-cv-01152-ACA Document 1 Filed 07/09/15 Page 1 of 32                                                                                                                                           FILED
                                                                                                                                                                                                              2015 Jul-10 PM 12:10
                                                                                                                                                                                                             U.S. DISTRICT COURT
                                                                                                                                                                                                                 N.D. OF ALABAMA


                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF ALABAMA
                                             MIDDLE DIVISION

MICHELLE LEE HELM, individually and]
as Guardian and next friend of T.D.H.,      ]
minor child;                                ]
                                            ]
             Plaintiff,                     ]
                                            ]
v.                                          ]
                                            ]
RAINBOW CITY, ALABAMA, an                   ]
Alabama municipal corporation;              ]
GREG CARROLL, Chief of                      ]
Police, Rainbow City, Alabama; JAMES ]
FAZAKAS, individually and in his            ]
capacity as a member of the Rainbow City, ]
Alabama Police Department; GEORGE           ]
MORRIS, individually, and in his official ]
capacity as a member of the Rainbow City, ]
Alabama Police Department; JUSTIN           ]
GILLIAND, individually, and in his official ]
capacity as a member of the Rainbow City, ]
Alabama Police Department; CENTER           ]
STAGES OF ETOWAH COUNTY, INC. ]
an Alabama limited liability company;       ]
                                  1
FICTITIOUS DEFENDANT A ,                    ]
individually, and in his official           ]
capacity as a member of the Rainbow City, ]
Alabama Police Department;                  ]
FICTITIOUS DEFENDANT B,                     ]
a member of the Rainbow City, Alabama       ]
Police Department; FICTITIOUS               ]
DEFENDANT C, a member of the Rainbow]
City, Alabama Police Department; CITY ]
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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      The fictitiously named Defendants herein are described with enough specificity so that the
actions attributable to those Defendants may be easily assigned once the true identities are
learned. See, Memorandum Opinion of Heard v. Amerson CV 1:12-2581-RBP.

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OF GADSDEN, ALABAMA an Alabama ]
municipal Corporation; FICTITIOUS     ]
DEFENDANT D; a member of the Gadsden]
Alabama Police Department; FICTITIOUS ]
DEFENDANT E; a member of the Gadsden]
Alabama Police Department; FICTITIOUS ]
DEFENDANT F; a member of the Gadsden ]
Alabama Police Department;            ]
                                      ]
                                      ]
           Defendants.                ]

                                  COMPLAINT

       COMES NOW, MICHELLE LEE HELM, individually, and as Guardian and

Next Friend of Plaintiff T.D.H, and files the following Complaint:

                                 JURISDICTION

Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1331.

                                      VENUE

Venue is proper in this Court pursuant to 28 U.S.C. § 1391 (b)(2).

                                     PARTIES

1.     Plaintiff Michelle Lee Helm, (“Plaintiff Helm” or “Plaintiff”) at all times

relevant and material was, and is the mother of T.D.H. The Plaintiff is a resident

of Rainbow City, Alabama.

2.     T.D.H., at all times relevant and material was, and is the minor child of the

Plaintiff.




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3.     Defendant RAINBOW CITY, ALABAMA (“Defendant RBC”), at all

time relevant was and is a municipal corporation and/or political subdivision of the

State of Alabama and has among its other function operating and maintaining a law

enforcement agency known as the Rainbow City, Alabama Police Department

(“RBCPD”).

4.     Defendant Greg Carroll (“Defendant Carroll”), at all time relevant and

material acted as Chief of Police, Rainbow City, Alabama.

5.     Defendant George Morris (“Defendant Morris”), at all times relevant and

material was employed as a police officer with the Rainbow City, Alabama Police

Department.

6.     Defendant James Fazakas (“Defendant Fazakas”), at all times relevant

and material was employed as a member of the Rainbow City, Alabama Police

Department.

7.     Defendant Justin Gilliand (“Defendant Gilliand”), at all times relevant

and material was employed as a member of the Rainbow City, Alabama Police

Department.

8.     Defendant City of Gadsden, Alabama (“Defendant Gadsden”) at all time

relevant was and is a municipal corporation and/or political subdivision of the

State of Alabama and has among its other function operating and maintaining a law

enforcement agency known as the Gadsden, Alabama Police Department.



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9.     Defendant Center Stage of Etowah County (“Center Stage”), at all times

relevant and material was/is an Alabama domestic limited liability company,

whose with a principal place of business located in Rainbow City, Alabama.

10.    Defendant FICTITIOUS DEFENDANT A (“FDA”), whose true identity is

unknown at this time was, at all times relevant and material employed by RBC as a

police officer. FDA’s true identity will be added to this Complaint immediately

upon discovery.

11.    Defendant FICTITIOUS DEFENDANT B (“FDB”), whose true identity is

unknown at this time, was at all times relevant and material employed by RBC as a

police officer. FDB’s true identity will be added to this Complaint immediately

upon discovery.

12.    Defendant FICTITIOUS DEFENDANT C (“FDC”), whose true identity is

unknown at this time, was at all times relevant and material employed by RBC as a

police officer. FDC’s true identity will be added to this Complaint immediately

upon discovery

13.    Defendant FICTITIOUS DEFENDANT D (“FDD”), whose true identity is

unknown at this time, was at all times relevant and material employed by

Defendant Gadsden as a police officer. FDD’s true identity will be added to this

Complaint immediately upon discovery




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14.    Defendant FICTITIOUS DEFENDANT E (“FDE”), whose true identity is

unknown at this time, was at all times relevant and material employed by

Defendant Gadsden as a police officer. FDE’s true identity will be added to this

Complaint immediately upon discovery

15.    Defendant FICTITIOUS DEFENDANT F (“FDF”), whose true identity is

unknown at this time, was at all times relevant and material employed by

Defendant Gadsden as a police officer. FDF’s true identity will be added to this

Complaint immediately upon discovery.

16.    Herein, when not named or identified individually, Defendant Fazakas,

Defendant Gilliland, Defendant Morris, FDA, FDB, FDC, FDD, FDE & FDF are

collectively referred to as the “Named Defendants”. Whenever herein Named

Defendants appear, it refers to these Defendants collectively.

                          FACTUAL ALLEGATIONS

17.    Defendant RBC is under a duty to run its policing activities in a lawful

manner so as to protect the peace of Rainbow City, Alabama, and to preserve its

residents the rights, privileges, and amenities guaranteed and secured to them by

the Constitution and laws of the State of Alabama.

18.    Defendant Gadsden is under a duty to run its policing activities in a lawful

manner, and to preserve the rights, privileges, and amenities guaranteed and




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secured to United States citizens by the Constitution and laws of the State of

Alabama.

19.    At all times relevant, the Named Defendants herein were acting by virtue of

and under the color of their offices as law enforcement officers of Defendant RBC

and Defendant Gadsden.

20.    Tasers sometimes referred to as stun guns, use compressed gas to fire

electrodes delivering an initial shock of 50,000 volts of electricity.

21.    As far back as 2004, the RBCPD has allowed its officers to carry Taser guns

for use in their offices as law enforcement officers.

22.    Upon information and belief, as far back as February 2004, the Taser models

employed by the RBCPD are the Taser X-26 and the Advanced M26 Taser.

23.    At a July 25, 2005 Defendant RBC Council meeting, Defendant RBC

approved travel and tuition cost for Officer Chase Jenkins to attend “The New

Taser X26 and Advanced Taser M26” instructor course in Anniston, Alabama,

August 17 and 18 at a cost of $80.00 and no lodging. Sergeant LaMont Tucker,

Officer David Mitchell and Officer Scott Holderfield were approved to attend the

course at Jacksonville University, August 17-18, 2005, at a cost of $50.00 each for

two officers, and the third officer attended free.




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24.    At the August 12, 2013 RBC Council meeting, the Defendant RBC City

Council approved funds for Officer John Bryant to attend a Taser Instructor

recertification course in Gadsden, at a cost of $l75.00, September 4-5, 2013.

25.    The Taser X-26 and other Tasers are not meant to force compliance when

the person upon whom the Taser is being used does not present a threat to officers

or the public.

26.    The Taser is not a toy, and is known to cause death or serious injury.

27.    On April 30, 2012, the American Heart Association published a study

conducted by Dr. Douglas P. Zipes entitled “Sudden Cardiac Arrest and Death

Associated With Application of Shocks From a Taser Electric-Controlled Device”,

focusing on the Taser X-26.

28.    Tasers inflict painful and frightening blows that temporarily paralyze the

large muscles of the body, rendering the victim helpless.

29.    Tasers overwhelm neurotransmitters, and prevent brain signals that control

movement.

30.    There are continuing reports, as in this case, of officers using multiple and/or

prolonged shocks with the Tasers despite warnings, some from the manufacturers

themselves, that such misuse may increase the risk of adverse effects on the victim.

31.    Tasers should be employed in situations where firearms or other weapons

are not an option.



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32.    Some law enforcement officers, such as the named and fictitious Defendants

in this case, use Tasers to subdue people who do not pose significant threats.

33.    In this case, officers of the RBCPD used Tasers on two unarmed individuals,

one of who, T.D.H. was a minor suffering a medical emergency.

34.    Officer employed by Defendant Gadsden failed to stop the unlawful use of

the Tasers by Defendant RBC officers on T.D.H.

35.    A Taser was employed on T.D.H. three (3) times while T.D.H. was suffering

a medical emergency.

36.    Officers of the RBCPD also used a Taser on Plaintiff Helm who was not a

threat, and who was being compliant with all directives issued to her by officer

employed by the RBCPD.

37.    The use of a Taser in these kinds of situations is inconsistent with the

individuals’ constitutional rights, which require police to use force only as a last

resort, in proportion to the threat posed.

38.    The RBCPD officers’ repeated use of Tasers on Plaintiff Helm and T.D.H.;

and the failure to stop the uses by officers of Defendant Gadsden amounted to

excessive force, torture, and other cruel, inhuman, and degrading treatment.

39.    There were at least five (5) RBCPD officers present, on January 16 2015

when Tasers were used on Plaintiff Helm and T.D.H.




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40.    There were at least three (3) Defendant Gadsden police officers present on

January 16, 2015 when Tasers were used on Plaintiff Helm and T.D.H.

41.    Neither Plaintiff Helm nor T.D.H. were armed nor a threat to the public or

police officers when the RBCPD officers used Tasers on them on January 16 2015.

42.    In fact, at the time she was tased three separate times, T.D.H. was suffering a

medical emergency. At the time Plaintiff Helm was tased, she was in a prone

position faced down, with her arms secured behind her back, and Plaintiff Helm

was dressed only in pajamas and a t-shirt.

43.    The repeated deployment of a stun gun on T.D.H., a child suffering from

grand-mal seizures, and not posing a threat to anyone was unconstitutional.

44.    The deployment of a stun gun on Plaintiff Helm after she was knocked to the

floor and was restrained on her knees with her hands secured behind her back was

unconstitutional.

45.    At no time prior to or after Tasers were used on Plaintiff Helm and T.D.H.

did Plaintiff Helm or T.D.H. ever physically or verbally threaten any police officer

or any member of the general public.

46.    The Named Defendants, who at the relevant time were members of the

RBCPD and the Gadsden Police Department knew, or should have known that

repeated, prolonged, and/or continuous exposure to the electrical discharge from

the Tasers could cause strong muscle contractions and impair breathing and



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respirations, particularly when the probes were placed directly onto T.D.H’s chest

and diaphragm area.

47.    Neither Plaintiff Helm nor T.D.H. had committed any crime prior to having

Tasers used on them by the Named Defendants.

48.    The situation that unfolded on January 16, 2015 during T.D.H.’s medical

emergency was not the “tense, uncertain or rapidly evolving” circumstances calling

for “split second decisions” which could have made some use of force necessary.

49.    In fact, no use of force was necessary to the persons of Plaintiff Helm and

T.D.H. on January 16, 2015 because T.D.H. was suffering from a medical

emergency and Plaintiff Helm was attending to her aid clad in pajamas.

50.    The Named Defendants, who at all times relevant are/were members of the

RBCPD and members of Defendant Gadsden’s police department on January 16,

2015 participated in, or engaged in the malicious and sadistic use of Tasers on

Plaintiff Helm and T.D.H.

51.    As a result of being struck by an alcohol-impaired driver, T.D.H. developed

a medical condition, which causes her to suffer Tonic-Clonic seizures (“grand mal

seizures”).

52.    When in the throws of grand-mal seizures, T.D.H. will lose consciousness,

her skeletal muscles will tense, and T.D.H. will sometimes exhibit loud

vocalization caused by the forceful exhalation of air from her lungs.



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53.    On January 16, 2015, while attending classes at Southside High School

(“School”), T.D.H. suffered a grand-mal seizure. Paramedics were summoned to

the School and as part of the treatment of T.D.H., the paramedics inserted a

intravenous needle into T.D.H’s arm in order to provide fluids and/or medication

to T.D.H.

54.    After treatment at School by the paramedics, T.D.H. was not taken to a care

facility.

55.    At or about 8:00 P.M. on January 16, 2015, T.D.H. accompanied friends to a

musical concert that was held in a facility located in Rainbow City, Alabama, that,

at the time of the acts giving rise to this lawsuit were operated by Defendant Center

Stages.

56.    T.D.H. paid a general admission to the facility operated by Defendant Center

Stages and gained admission to the musical concert.

57.    Upon entering the facility operated by Defendant Center Stages, T.D.H. was

part of a crowd of patrons who were in attendance at the facility operated by

Defendant Center Stages.

58.    At a point after T.D.H. entered the facility, the artist performing on stage at

the facility operated by Defendant Center Stages exited the stage and entered into

the crowd of patrons who were in attendance at the musical concert.




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59.    After the artist performing at the facility operated by the Defendant Center

Stages exited the stage and entered the crowd of patrons, a stampede ensued that

caused T.D.H. to be knocked to the floor of the facility operated by the Defendant

Center Stages.

60.    After T.D.H. was knocked to the floor of the facility operated by the

Defendant Center Stages, other patrons in the crowd trampled T.D.H.

61.    The stress and fear of being trampled by other crowd patrons caused the

onset of a grand-mal seizure in T.D.H.

62.    Once T.D.H. began having the grand-mal seizure while on the floor of the

facility operated by Defendant Center Stages, the other patrons parted from around

T.D.H. and she was left to seize on the floor of the facility operated by Defendant

Center Stages.

63.    D.S.H., T.D.H.’s minor sister informed the Named Defendants, employees

of Defendant Center Stage and others that T.D.H. has a medical condition that

causes seizures and that she was presently suffering from the effects of that

medical condition.

64.    Upon information and belief, an employee of Defendant Center Stages

picked T.D.H. up from the floor of the facility operated by Defendant Center

Stages and carried her over his shoulder to the lobby of the facility operated by the

Defendant Center Stages.



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65.    Rather than seeking medical help for T.D.H., the Defendant Center Stages

employee unceremoniously dumped T.D.H. onto the floor of Defendant Center

Stages’ lobby.

66.    After being deposited onto the floor of the lobby of the facility operated by

the Defendant Center Stages, Defendant Fazakas, Defendant Morris, FDA, FDB;,

FDC, FDD, FDE, FDF, and Defendant Gilliand encountered T.D.H.

67.    T.D.H next suffered a second gran-mal seizure.        D.S.H, T.D.H’s sister

followed Defendant Center Stages employee into the lobby of the facility operated

by Defendant Center Stages and again informed the Named Defendants that

T.D.H. was suffering from a medical condition and implored the Defendants to

render assistance and call for medical help.

68.    At or about the time that T.D.H. suffered the second grand-mal seizure,

Plaintiff Helm arrived to the lobby of the facility in pajamas having been alerted by

D.S.H. that T.D.H. was in medical distress.

69.    Upon her arrival to the lobby of the facility operate by Defendant Center

Stages, Plaintiff Helm attempted to go to the aid of T.D.H, who by that time was

being held down on the ground at five different points of her body by the Named

Defendants. In addition, at that point Defendant Center Stages’ employee had

T.D.H. in a chokehold around her neck.




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70.    Defendant Farakas, who upon information and belief, stands over six feet

tall, and at that time weighed over 200 pounds then, “body checked” Plaintiff

Helm, who stands just over 5 feet four inches tall and, at that time weighed under

120 pounds, onto the floor of the lobby of the facility operated by the Defendant

Center Stages.

71.    Plaintiff Helm was knocked unto her knees by the force of the blow

administered to her by Defendant Farakas.

72.    Defendant Farakas then placed Plaintiff Helm into a restrained position by

placing both of her arms behind her back and employing a restraint tactic that

renders the wrists, hands and fingers immobile.

73.    While Plaintiff Helm was on her knees, and restrained by Defendant

Farakas, Defendant Farakas instructed FDA, through the use of the words “get her”

to employ the use of a Taser on Plaintiff Helm.

74.    Although initially hesitating to employ the Taser on the restrained Plaintiff

Helm, after a second instruction from Defendant Farakas through the use of the

words “do it” Defendant FDA employed the Taser into the back of Plaintiff Helm

while she was being restrained by Defendant Farakas.

75.    When Plaintiff Helm was “tased” by Defendant Farakas while on her knees

and restrained by Defendant Farakas, Plaintiff Helm’s bladder evacuated and




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caused Plaintiff Helm to urinate a copious amount of urine onto herself, and the

floor of the facility operated by the Defendant Center Stages.

76.    This caused, in addition to pain and suffering, devastating embarrassment

and mental anguish to Plaintiff Helm.

77.    As Plaintiff Helm was being tased by Defendant Farakas, T.D.H. was

coming out of her second grand-mal seizure. Glimpsing and hearing her mother

being tased, T.D.H. attempted to raise her head.

78.    When T.D.H., while restrained by the Defendants and Defendant Center

Stages’ employee attempted to raise her head and check on the condition of

Plaintiff Helm, Defendant Morris employed the Taser on T.D.H in the sternum

area of her body.

79.    T.D.H. was tased a second time in the sternum area by Defendant Morris

while T.D.H. was still being restrained by the Named Defendants and Defendant

Center Stages’ employee.

80.    Upon being tased for the third time by Defendant Morris, T.D.H. suffered a

third grand-mal seizure and was rendered unconscious.

81.    T.D.H. awoke from the third grand-mal seizure in an ambulance operated by

Defendant A Med.




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82.    The gauze placed in her mouth by Defendant Center Stages’ employee had

been replaced by medical tape affixed over her mouth and a surgical mask has

been placed over that medical tape.

83.    Because the grand-mal seizures causes T.D.H. to excrete more than normal

saliva, the presence of the surgical tape and mask caused T.D.H. to experience the

sensation of drowning.

84.    Plaintiff Helm, after being unconstitutional tased and falsely imprisoned by

being handcuffed and placed into a RBCPD police vehicle, was transported to the

Etowah County Detention Center, and cited for disorderly conduct.

85.    Unwilling to acknowledge the unconstitutional use of force on Plaintiff

Helm, the Named Defendants then caused to be filed against Plaintiff Helm

charges for disorderly conduct.

86.    The charges filed against Plaintiff Helm were false, and made against her in

an attempt by the Named Defendants to cover up their unconstitutional actions.

87.    During Plaintiff Helm’s unlawful detainment, she was not allowed to check

on the welfare of T.D.H. and was instead ridiculed and threatened that she was

ultimately lose custody of her children.

88.    On January 16, 2015, after T.D.H. had been tased three times, bound and

gagged, she was transported transported to Gadsden Regional Hospital (the

“hospital”).



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89.    T.D.H. was left restrained and gaged in the common area of the hospital

while RBC police officers and Defendant Gadsden police officers made jokes

about her, and to her, about Plaintiff Helm’s arrest, and threatened to have T.D.H.

committed to a mental facility.

90.    The Named Defendants simply abandoned T.D.H. at the hospital, where she

was seen and treated for the grand-mal seizures.

91.    T.D.H. was ultimately released by the hospital to a complete stranger.

92.    T.D.H. suffers from recurrent nightmares and panic attacks as a result of her

treatment at the hands of the Named Defendants and Defendant Center Stages’

employee.

93.    The conduct of the Named Defendants was unjustified, unprovoked, and

grossly disproportionate and amounted to the use of excessive force in violation of

Plaintiff Helm and T.D.H.’s clearly established Fourth Amendment rights.

94.    Therefore, all Named Defendants are jointly and severally liable for the

excessive force used against Plaintiff Helm and T.D.H. on January 16, 2015.

95.    The actions of the Named Defendants against Plaintiff Helm and T.D.H.

were unjustified, unprovoked, and objectively unreasonable and constitute a

violation of their rights under the Fourth Amendment and/or the Fourteenth

Amendment to be free from the use of excessive force.




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96.    Further, some or all of the Named Defendants violated Plaintiff Helm and

T.D.H.’s constitutional rights by failing to intervene; and stop the repeated use of

the Taser on T.D.H.; and preventing Plaintiff Helm from stopping the vicious,

repeated attack by Taser on her minor daughter T.D.H. who, at the same time she

was being tased, was having a medical emergency.

97.    The unconstitutional actions of the Named Defendants became known to,

among others Defendant Carroll, Defendant Gadsden, and Defendant RBC, who

failed to adequately investigate this matter and their customs and practices despite

being made aware that the Named Defendants violated the constitutional rights of

Plaintiff Helm and T.D.H.

98.    Therefore, Defendant Carroll, Defendant Gadsden, and Defendant RBC

approved, ratified, and knowingly acquiesced in the conduct of all of the Named

Defendants in all respects.

99.    The Named Defendants, Defendant Carroll, Defendant Gadsden, and

Defendant RBC, individually, and in concert with each other acted under the color

of law in their official capacities, to deprive Plaintiff Helm and T.D.H. of their

rights and freedom from unreasonable seizure and the use of unnecessary,

unjustified excessive force; said rights secured to Plaintiff Helm and to T.D.H. by

the Fourth, Eighth, and Fifteenth Amendments to the Constitution of the United

States; and by 42 U.S.C. §§ 1983 and 1988.



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100. The use of force by the Named Defendants was excessive and not

objectively reasonable in light of the facts and circumstances confronting them.

101. On an objective basis, no reasonable competent officer would have

concluded that the Named Defendants should have taken the disputed actions.

102. Plaintiff Helm and T.D.H. were injured as a direct and proximate result of

the acts of the Named Defendants, Defendant Carroll, Defendant RBC, and

Defendant Gadsden.

103. The injuries, damages, and relief which Plaintiff Helm and T.D.H. seek

relief from Defendant Carroll, Defendant RBC, Defendant Gadsden, and the

Named Defendants, jointly and severally, under both state and federal law, include

but are not limited to:

             a.    Damages for physical pain and suffering of past, present and

                   future:

             b.    Damages for emotional distress of past, present and future;

             c.    Damages for medical expenses of past, present and future;

             d.    Damages for loss of enjoyment of life past, present and future;

             e.    Damages for permanent scars and disfigurement caused by

                   Taser prongs;

             f.    Punitive damages;

             g.    Pre and post judgment interest;



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            h.    Attorney’s fees;

            i.    Cost associated with bringing and maintaining this action;

            j.    A Declaratory Judgment that the acts and conduct of Defendant

                  Carroll, Defendant RBC, Defendant Gadsden, and the Named

                  Defendants complained of herein are unconstitutional;

            k.    Injunctive relief precluding the Named Defendants from

                  engaging in the conduct herein and the future and requiring

                  Rainbow City, Alabama Gadsden, Alabama, the Gadsden

                  Alabama Police Department, and the RBCPD to provide proper

                  policy, training and supervision of its officers and holding them

                  accountable for misconduct; and

            l.    All such relief, general and specific, to which they may be

                  entitled.

104. Defendant Center Stages regularly promotes, and host music acts at its

facility located in Rainbow City, Alabama.

105. Defendant Center Stages hosts musical acts from various genres including

Country/Western, Rock, Hard Rock, and Hip-Hop (“rap”).

106. On January 16, 2015, Defendant Center Stages hosted in its facility a hip-

hop artist who performs under the stage name Kevin Gates (“Gates”).




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107. In October of 2014, a Gates concert in North Dakota was abruptly stopped

when a gunman with an assault rifle at the concert caused what Sioux City police

described as a “near riot”.

108. On January 7, 2015, it was reported that at a concert, a concertgoer in the

crowd punched Gates in the mouth after Gates, while on stage attempted to kiss the

girlfriend of the punch-thrower.

109. On September 4, 2014, it was reported that at a Gates concert in Tennessee,

Gates entered the crowd and punched a concertgoer, causing a melee in the crown

of concertgoers.

110. In January of 2015, Gates jumped into a crowd of concertgoers in Kentucky,

setting off a melee that ended with one concertgoer firing a weapon into the crowd.

111. The Internet is replete with video clips showing Gates, prior to January 16,

2015, leaving the stage at his concerts, and entering the crowds of concertgoers,

with the predictable results of melees and worse.

                                 CAUSE OF ACTION I
        Violation of Fourth, Eighth, And Fourteenth Amendments (Plaintiff Helm
       Against The Named Defendants; Defendant Carroll; Defendant Gadsden and
                                     Defendant RBC)

112. Plaintiff Helm in addition to the preceding allegations, further alleges:

113. In committing the acts complained of herein, the Named Defendants,

Defendant Carroll, Defendant Gadsden and Defendant RBC acted jointly and

under color of state law to deprive Plaintiff Helm of her clearly established

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constitutionally protected rights under the Fourth and Fourteenth Amendments of

the United States Constitution, including but not limited to:

             a.   Freedom from unreasonable seizure;

             b.   The right to be free from unreasonable searches

             c.   Freedom from the use of unreasonable, unjustified and excessive

                  force;

             d.   Freedom from deprivation of liberty and property without due

                  process of law;

             e.   Freedom from summary punishment;

             f.   Freedom from the prevention of officers from using excessive

                  force;

             g.   Freedom from arbitrary governmental activity which shocks the

                  conscience of a civilized society; and

             h.   Freedom from cruel and unusual punishment.

114. In violating Plaintiff Helm’s rights as set forth above, the Named

Defendants, Defendant Carroll, Defendant Gadsden and Defendant RBC acted

under the color of state law and conducted an unreasonable seizure of Plaintiff

Helm and utilized unnecessary, unjustified, unreasonable and excessive force.

115. The actions of the Named Defendants were not reasonable under the

circumstances based on the perspective of a reasonable officer at the scene.



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116. Further, the acts committed by the Named Defendants against Plaintiff Helm

occurred in the presence of each other and the Named Defendants further violated

Plaintiff Helms’s constitutional rights by failing to intervene and prevent the

violation of Plaintiff Helm’s constitutional rights by fellow officers.

117. The Named Defendant acted with deliberate indifference.

118. The Named Defendants, Defendant Carroll, Defendant Gadsden, and

Defendant RBC knowingly and deliberately conspired to deprive Plaintiff Helm of

her civil rights.

119. As a direct and proximate result of the violations of her constitutional rights

by the Named Defendants, Defendant Carroll Defendant Gadsden, and Defendant

RBC, Plaintiff Helm has suffered general and special damages as alleged in this

complaint and entitled to relief.

                               CAUSE OF ACTION II
        Violation of Fourth, And Fourteenth Amendments (T.D.H. Against The
       Named Defendants; Defendant Carroll; Defendant Gadsden and Defendant
                                        RBC)

120. In addition to the preceding allegations, the Plaintiff further alleges:

121. In committing the acts complained of herein, the Named Defendants,

Defendant Carroll, Defendant Gadsden and Defendant RBC acted jointly and

under color of state law to deprive T.D.H of her clearly established constitutionally

protected rights under the Fourth and Fourteenth Amendments of the United States

Constitution, including but not limited to:

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             a.    Freedom from unreasonable seizure;

             b.   The right to be free from unreasonable searches

             c.   Freedom fro the use of unreasonable, unjustified and excessive

                  force;

             d.   Freedom from deprivation of liberty and property without due

                  process of law;

             e.   Freedom from summary punishment;

             f.   Freedom from cruel and unusual punishment;

             g.   Freedom from the prevention of officers from using excessive

                  force; and

             h.   Freedom from arbitrary governmental activity which shocks the

                  conscience of a civilized society.

122. In violating T.D.H.’s rights as set forth above, the Named Defendants,

Defendant Carroll, Defendant Gadsden and Defendant RBC acted under the color

of state law and conducted an unreasonable seizure of T.D.H. and utilized

unnecessary, unjustified, unreasonable and excessive force.

123. The actions of the Named Defendants were not reasonable under the

circumstances, based on the perspective of a reasonable officer at the scene.

124. Further, the acts committed by the Named Defendants against T.D.H.

occurred in the presence of each other and the Named Defendants further violated



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T.D.H.’s constitutional rights by failing to intervene and prevent the violation of

T.D.H.’s constitutional rights by fellow officers.

125. The Named Defendants, Defendant Gadsden, Defendant Carroll and

Defendant RBC knowingly and deliberately conspired to deprive T.D.H. of her

civil rights.

126. As a direct and proximate result of the violations of her constitutional rights

by the Named Defendants, Defendant Carroll Defendant Gadsden and Defendant

RBC, T.D.H. has suffered general and special damages as alleged in this complaint

and is entitled to relief.

                              CAUSE OF ACTION III
       (Cruel And Unusual Punishment – Eighth Amendment (Plaintiff Helm and
           T.D.H. Against Defendant RBC; Defendant Gadsden and Named
                                   Defendants;)

127. In addition to the preceding allegations, the Plaintiff further alleges:

128. Pursuant to the Eighth Amendment of the United States Constitution, on

January 16, 2015 Plaintiff Helm and T.D.H. were entitled to be free from cruel and

unusual punishment.

129. The actions as laid out in the Factual Allegations above committed by the

Named Defendants on January 16, 2015 against Plaintiff Helm, and against T.D.H.

constituted unnecessary and wanton infliction of pain, suffering mental anguish

and emotional distress and were extreme and excessively cruel and in violation of

the Eighth Amendment.

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130. The Named Defendants acted maliciously by undertaking, without just cause

for reason, courses of action intended to cause Plaintiff Helm and T.D.H. extreme

pain, suffering, emotional distress and mental anguish.

                                  CAUSE OF ACTION VI
       Failure to Supervise (Plaintiff Helm & T.D.H. Against Defendant Carroll, the
               Named Defendants, Defendant Gadsden, and Defendant RBC

131. In addition to the preceding allegations, the Plaintiff further alleges:

132. Defendant Carroll and Defendant RBC are under a constitutional duty to

ensure that all the police officers in the RBCPD, including the Named Defendants,

acted in a manner so as to preserve the constitutional rights of residents and

visitors of Rainbow City, Alabama.

133. Defendant Gadsden is under a constitutional duty to ensure that all the police

officers in the Gadsden, Alabama Police Department, including the Named

Defendants, acted in a manner so as to preserve the constitutional rights of people

with whom the officer come into contact.

134. Defendant RBC and Defendant Carroll are under a duty to properly train,

supervise, and discipline members of the RBCPD and to ensure that employees of

the RBCPD, including the Named Defendants operate in a lawful manner,

preserving the residents of Rainbow City, Alabama the rights, privileges, and

amenities guaranteed them by the Constitution of the United States and the State of

Alabama.



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135. Defendant Gadsden is under a duty to properly train, supervise, and

discipline members of the Gadsden, Alabama Police Department and to ensure that

employees of the Gadsden, Alabama Police Department, including the Named

Defendants operate in a lawful manner, preserving the rights, privileges, and

amenities guaranteed United States citizens by the Constitution of the United

States and the State of Alabama.

136. Defendant Carroll and Defendant RBC failed in their constitutional duty by

permitting, encouraging, tolerating, and knowingly acquiescing to an official

pattern, practice or custom of its police officers including the Named Defendants

violating the constitutional rights of the public at large, including Plaintiff Helm’s

and T.D.H.’s.

137. Defendant Gadsden failed in it’s constitutional duty by permitting,

encouraging, tolerating, and knowingly acquiescing to an official pattern, practice

or custom of its police officers including the Named Defendants violating the

constitutional rights of the public at large, including Plaintiff Helm’s and T.D.H.’s.

138. The actions of the Named Defendants complained of herein were unjustified,

unreasonable, unnecessary, unconstitutional, excessive, and constitutes an

unreasonable seizure effectuated through the use of excessive force and

unreasonable force and the deprivation of Plaintiff Helm’s and T.D.H.’s due




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process protections in violation of the rights secured by the Fourth and Fifteenth

Amendments of the Constitution of the United States.

139. Each of the Named Defendants had and has a duty to supervise and prevent

the other officers at the scene from violating Plaintiff Helm and T.D.H.’s

constitutional rights.

140. Defendant Gadsden, Defendant Carroll and Defendant RBC are directly

liable for the violations of Plaintiff Helm’s and T.D.H.’s constitutional rights due

to the following policies, practices, or customs which were in effect on January 16,

2015, and which were the moving force behind the violations of Plaintiff Helm’s

and T.D.H.’s constitutional rights:

             a.     Defendant Gadsden, Defendant Carroll and Defendant RBC

                    failed to adequately and properly train and educate their officers

                    with respect to procedures to employ when interacting with

                    citizens, including stops, seizures, detentions, and arrests, the

                    proper use of force, the methods of using Tasers, creating an

                    atmosphere where illegal and unconstitutional behavior is

                    tolerated and accepted in deliberate indifference and reckless

                    disregard to the welfare of the public at large, including

                    Plaintiff Helm and T.D.H.




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           b.    Defendant Gadsden, Defendant Carroll and Defendant RBC

                 failed to properly supervise, train and discipline officers of the

                 RBCPD and the Gadsden Police Department with respect to the

                 violations of the Constitution of the Untied States, the

                 Constitution of Alabama, and their own polices regarding the

                 use of force, the sue of Tasers, creating a pattern, policy,

                 practice, custom or atmosphere where such illegal and

                 unconstitutional behavior is tolerated and accepted in deliberate

                 indifference to the welfare of the public at large, including

                 Plaintiff Helm and T.D.H.

           c.    Defendant Gadsden, Defendant Carroll and Defendant RBC

                 failed to adequately monitor and evaluate the performance of

                 their officers and their compliance with the laws and policies,

                 practices, and customs with respect to the use of force, and use

                 of Tasers, with deliberate indifference and reckless disregard to

                 the public at large, including Plaintiff Helm and T.D.H.

           d.    Defendant    Gadsden,     the   Gadsden    Police    Department,

                 Defendant Carroll and Defendant RBC and the RBCPD have a

                 practice, policy, or custom of exonerating officers regarding

                 complaints of misconduct including but not limited to the use of



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                   force, and use of Tasers, creating an atmosphere where illegal

                   and unconstitutional behavior is condoned, tolerated or

                   approved in deliberate indifference and reckless disregard to the

                   rights of the public at large, including Plaintiff Helm and

                   T.D.H.

             e.    The RBCPD has a policy, practice or custom of allowing its

                   officers to use excessive and/or unreasonable force without fear

                   of discipline creating an atmosphere where such behavior is

                   accepted, approved, and ratified, in reckless disregard and

                   deliberate indifference to the welfare of the public at large,

                   including Plaintiff Helm and T.D.H.


141. Accordingly, Defendant Gadsden, Defendant Carroll and Defendant RBC

ratified, condoned and approved the Named Defendants’ conduct in all aspects of

the deprivation of the constitutional rights afforded to Plaintiff Helm and T.D.H.

142. As a direct a proximate result of the forgoing policies, practices, and customs

of the RBCPD and the Gadsden Police Department; Defendant Gadsden,

Defendant Carroll and Defendant RBC are responsible for the violations of the

constitutional rights by the Named Defendants which were substantially certain to

occur and were the moving force behind the violations of Plaintiff Helm’s and

T.D.H. constitutional rights.

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                          CAUSE OF ACTION VII
              Premise Liability (Against Defendant Center Stages)

143. In addition to the preceding allegations, the Plaintiff further alleges:

144. Defendant Center Stages knew or should have known, and it should have

been reasonably anticipated by Defendant Center Stages that the patrons at the

Gates rap concert hosted on January 16, 2015 being hosted by Center Stages

required enhanced crowd control measures.

145. T.D.H. was an invitee of Defendant Center Stages on January 16, 2015.

146. Defendant Center Stages knew or should have known that in the absence of

appropriate supervision and crowd control, it was reasonably foreseeable that

disorder, or even a riot could occur as a result of the vagaries of myriad individuals

jammed together in a heightened atmosphere at the Gates rap concert hosted by

Defendant Center Stages.

147. Defendant Center Stages, by hosting the rap concert, and allowing invitees,

including the Plaintiff T.D.H. to pay for entry into its facilities was negligent both

in failing to provide reasonable security to prevent the stampede that caused injury

to Plaintiff T.D.H., and in failing to control the stampede once it began.

148. The negligence of Defendant Center Stages in failing to control the crowd

during the rap concert on January 16, 2015 caused Plaintiff T.D.H. to be trampled

by the crowd assembled inside the facility operated by Defendant Center Stages,




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triggering the onset of Plaintiff T.D.H.’s grand-mal seizures that lead to the

deprivation of her constitutional rights by the Named Defendants.

149. The negligence of Defendant Center Stages was willful and wanton in nature.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff Helm demands

judgment, on behalf of herself and on behalf on T.D.H., both compensatory and

punitive, against each named Defendant in amounts to be determined by a struck

jury.

                                   JURY DEMAND

        The Plaintiff demands trial by struck jury pursuant to Fed. R. Civ. P. 38(b).



                                                Respectfully submitted,
                                                /s/ H. Gregory Harp
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